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                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

KARLOS AYALA CONDE,

                      Plaintiff,

v.                                                            Case No: 6:19-cv-217-Orl-22DCI

HOSPITALITY STAFFING
SOLUTIONS, LLC,

                      Defendant.


                                             ORDER

       This cause is before the Court on the Joint Motion to Approve the Parties' Settlement

(Doc. No. 17) filed on August 2, 2019.

       The United States Magistrate Judge has submitted a report recommending that the

Motion be GRANTED in part.

       After an independent de novo review of the record in this matter, and noting that no

objections were timely filed, the Court agrees entirely with the findings of fact and conclusions

of law in the Report and Recommendation.

       Therefore, it is ORDERED as follows:

       1.      The Report and Recommendation filed August 9, 2019 (Doc. No. 18), is

ADOPTED and CONFIRMED and made a part of this Order.

       2.      The Joint Motion to Approve the Parties' Settlement is hereby GRANTED in part.

       3.      Paragraph 11 of the Agreement is hereby STRICKEN.

       4.      The Court finds the Agreement to be a fair and reasonable compromise of a bona

fide FLSA dispute.

       5.      This case is DISMISSED with prejudice.

       6.      The Clerk is directed to CLOSE the file.
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       DONE and ORDERED in Orlando, Florida on August 26, 2019.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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